 Case 3:21-cv-00242-HEH Document 32 Filed 04/27/22 Page 1 of 1 PageID# 282




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

RICHARD CLARK, et al., on behalf of themselves :
and all individuals similarly situated,        :
                                               :
               Plaintiffs,                     :
                                               :
v.                                             : Civil Action No. 3:21-cv-00242-HEH
                                               :
DONALD DUNCAN, et al.,                         :
                                               :
               Defendants.                     :

                                       STATUS REPORT

       Pursuant to the Court’s Order (ECF No. 31), Plaintiffs Richard Clark and Clairmont

Morrison, by and through counsel, hereby submit this Status Report to inform the Court that they

have resolved the claims in this case. Plaintiffs are working with Defendants to finalize the

necessary paperwork to effectuate that settlement, and request thirty (30) days (or a date otherwise

ordered by the Court) to submit a stipulation of dismissal.

                                                     Respectfully submitted,

                                                       /s/ Kristi C. Kelly
                                                     Kristi C. Kelly, VSB #72791
                                                     Andrew J. Guzzo, VSB #82170
                                                     Casey S. Nash, VSB #84261
                                                     Pat McNichol, VSB #92699
                                                     KELLY GUZZO, PLC
                                                     3925 Chain Bridge Road, Suite 202
                                                     Fairfax, VA 22030
                                                     Telephone: (703) 424-7572
                                                     Facsimile: (703) 591-0167
                                                     Email: kkelly@kellyguzzo.com
                                                     Email: aguzzo@kellyguzzo.com
                                                     Email: casey@kellyguzzo.com
                                                     Email: pat@kellyguzzo.com
                                                     Counsel for Plaintiffs
